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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                        *     CRIMINAL NO.: 17-201

 v.                                              *     SECTION: “I” (3)

 LILBEAR GEORGE,                                 *
  a/k/a “Bear”
  a/k/a “Allen Santee”                           *

                                         *       *       *


      SECOND AMENDED NOTICE OF INTENT TO SEEK THE DEATH PENALTY

       The United States of America, by and through its undersigned counsel and pursuant to Title

18, United States Code, Section 3593(a), files this Notice of Intent to Seek the Death Penalty and

notifies the Court and defendant LILBEAR GEORGE that the United States believes the

circumstances of the offenses charged in Count 3 of the Second Superseding Indictment are such

that in the event of a conviction, a sentence of death is justified under Chapter 228 (Sections 3591

through 3599) of Title 18 of the United States Code and the United States will seek the sentence

of death for this offense.

       The United States intends to prove the following factors to justify a sentence of death with

regard to Count 3:

       A.      LILBEAR GEORGE was 18 years of age or older at the time of the offense.

       B.      Statutory Threshold Factors enumerated under 18 U.S.C. § 3591(a)(2)

               1.      Intentionally Participated in an Act

               LILBEAR GEORGE intentionally participated in an act, contemplating

       that the life of a person would be taken or intending that lethal force would be used

       in connection with a person, other than one of the participants in the offense, and

       the victim died as a direct result of the act (18 U.S.C § 3591(a)(2)(C));
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        2.      Intentionally and Specifically Engaged in an Act of Violence

        LILBEAR GEORGE intentionally and specifically engaged in an act of

 violence, knowing that the act created a grave risk of death to a person, other than

 one of the participants in the offense, such that participation in the act constituted a

 reckless disregard for human life and the victim died as a direct result of the act (18

 U.S.C § 3591(a)(2)(D)).

 C.     Statutory Aggravating Factors enumerated under 18 U.S.C. § 3592(c)

        1.      Grave risk of death to additional persons

        LILBEAR GEORGE, in the commission of the offense, knowingly

 created a grave risk of death to one or more persons in addition to the victim of the

 offense (18 U.S.C. § 3592(c)(5));

        2.      Pecuniary gain

          LILBEAR GEORGE committed the offense as consideration for the

 receipt, or in the expectation of the receipt, of anything of pecuniary value (18

 U.S.C. § 3592(c)(8)).

 D.     Non-Statutory Aggravating Factors identified under 18 U.S.C. § 3593(a)

        1.      Victim Impact

          As reflected by the victim’s personal characteristics as a human being and

 the impact of the offenses on the victim and the victim’s family, LILBEAR

 GEORGE caused loss, injury, and harm to the victim and the victim’s family (see

 Payne v. Tennessee, 501 U.S. 808, 825-827 (1991)) including, but not limited to,

 the fact that the victim’s family suffered severe and irreparable harm;




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        2.      Lack of Remorse

        LILBEAR GEORGE has demonstrated a lack of remorse for the capital

 offenses committed in this case, as indicated by his statements and actions during

 the course of and following the offenses alleged in the Second Superseding

 Indictment, including but not limited to one or more of the following:

                a. LILBEAR GEORGE stated that if arrested for the offense

                    alleged in Count 3, he would tell police that he stole the vehicle

                    but gave it to someone else;

                b. LILBEAR GEORGE stated that he should have killed

                    someone and then planted his gun on the deceased to divert

                    attention away from himself;

        3.      Other Criminal Conduct – Armed Robbery

         LILBEAR GEORGE participated in the armed robbery of an Intertrust

 armored car at the Capital One Bank, 1100 S. Carrollton Avenue, New Orleans,

 Louisiana, on December 13, 2007;

        4.      Other Criminal Conduct – Drug Trafficking with a Firearm

        LILBEAR GEORGE participated in a conspiracy and possession of heroin

 with intent to distribute, along with possession of a firearm in furtherance of drug

 trafficking, in New Orleans, Louisiana, on February 8, 2016;




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               5.      Other    Criminal    Conduct     –   Substantial    Planning     and

                       Premeditation for Armed Robbery

               LILBEAR GEORGE substantially planned and premediated the offenses

       alleged in Count 3 of the Second Superseding Indictment, which required the use

       of a firearm to facilitate the robbery of armed security guards.

                                                 Respectfully submitted,

                                                 PETER STRASSER
                                                 UNITED STATES ATTORNEY

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                             CERTIFICATE OF SERVICE

       I hereby certify that on June 27, 2019, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system which will send a notice of electronic filing

to all defense counsel of record.

                                                     s/ Brittany L. Reed
                                                     BRITTANY L. REED
                                                     Assistant United States Attorney




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